           Case 2:23-cv-00580-APG-EJY Document 34 Filed 07/19/23 Page 1 of 2




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 5                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 6

 7   JOSE DECASTRO                                       )   Case No.: 2:23-CV-00580
                                                         )
 8                         Plaintiff,                    )   PLAINTIFF’S NON-OPPOSITION
                                                         )   TO DEFENDANT’S MOTION TO
 9   v.                                                  )   STAY DISCOVERY
                                                         )
10   LAS VEGAS METROPOLITAN POLICE                       )
     DEPARTMENT, et al.                                  )
11                                                       )
                                                         )
12                        Defendants.                    )
                                                         )
13   _____________________________________               )

14

15          Plaintiff Jose DeCastro (“Plaintiff”), offers the following response to All Defendants’

16 Motion to Stay Discovery (“Motion”) at ECF No. 32.

17          In support of this motion, Plaintiff submits a memorandum of law, which is fully

18 incorporated herein.

19                          MEMORANDUM OF POINTS AND AUTHORITIES

20          Plaintiff has not analyzed the law stated in Defendants’ Motion, but that law is likely

21 misguided as is the pattern of the Defendants. Plaintiff has not analyzed the quotation of

22 Plaintiff’s facts from his Amended Complaint, but they are likely misstated as also is the pattern

23 of these Defendants.


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           Case 2:23-cv-00580-APG-EJY Document 34 Filed 07/19/23 Page 2 of 2




 1          However, unlike the Defendants, when this Plaintiff has no factual or legal basis to

 2 oppose the relief granted in a motion, he will not do that.

 3          This Court should grant Defendants’ Motion “to stay this civil action during the

 4 pendency of the state court criminal proceedings” (Motion, 8:12-13) if this Court finds that it has

 5 been properly plead.

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 7 DATED: July 19, 2023                                  Respectfully submitted,

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                                                         _______________________
 9                                                       Jose DeCastro
                                                         Pro Se Plaintiff
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